                Case 24-06958                Doc 10         Filed 05/13/24 Entered 05/13/24 09:44:28                       Desc Main
                                                              Document     Page 1 of 1

 Fill in this information to identify the case:

  Debtor 1:                 Deborah             K                    Tomlinson
                           First Name          Middle Name           Last Name

  Debtor 2:
  (Spouse, if filing)      First Name          Middle Name           Last Name

  United States Bankruptcy Court for the:             Northern              District of     Illinois

  Case Number:                                 
  (if known)

  Chapter filing under:                                                               ✔ Chapter 7
                                                                                      ❑
                                                                                      ❑ Chapter 11
                                                                                      ❑ Chapter 12
                                                                                      ❑ Chapter 13


Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the court orders that:


     The debtor(s) may pay the filing fee in installments on the terms proposed in the application.

✔ The debtor(s) must pay the filing fee according to the following terms:


                               You must pay...   On or before this date...

                                $                  
                                                      Month / day / year

                               $                     
                                                      Month / day / year

                               $                     
                                                      Month / day / year

                           + $                       
                                                      Month / day / year

       Total                   $    




      Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any additional property to an attorney or to
      anyone else for services in connection with this case.




                         0D\                  By the court:
                        Month / day / year                                 United
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                                                                                      es Bankruptcy
                                                                                         Bankruptcy Judge
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